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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     MEDFORD DIVISION

KA TRINA HINNEWINKEL,                               Case No. 1:20-cv-01415-CL

                                  Plaintiff,        AMENDED STIPULATED
                                                    JUDGMENT OF DISMISSAL OF
          V.                                        C. R. BARD, INC., WITH PREJUDICE

BOSTON SCIENTIFIC CORPORATION;
C.R. BARD, INC.,

                               Defendants.


          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff and Defendant

C.R. Bard, Inc. (collectively with Plaintiff, the "Parties"), that the Parties have performed their

PAGE I - AMENDED STIPULATED JUDGMENT OF DISMISSAL OF                         LANE POWELL PC
                                                                   601 S.W. SECOND AVENUE, SUITE 2100
         C. R. BARD, INC., WITH PREJUDICE                                PORTLAND, OREGON 97204
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respective terms and conditions under the settlement agreement and, that pursuant to their

settlement agreement, Plaintiffs claims against C. R. Bard, Inc., shall be dismissed with

prejudice, and with each party bearing its own costs and attorneys' fees, pursuant to Fed. R. Civ.

P. 4l(a)(l)(A)(ii).

          IT IS THEREFORE ORDERED AND ADJUDGED that C. R. Bard, Inc., is dismissed

with prejudice and without costs or fees to any party.

          DATED this 28th day of September, 2021




                                                      ls/Mark D. Clarke
                                                     MARK D. CLARKE, Magistrate Judge

IT IS SO STIPULATED:

 DATED:_ September 27, 2021                          DATED:_ September 27, 2021_

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PAGE 2- AMENDED STIPULATED JUDGMENT OF DISMISSAL OF                          LANE POWELL PC
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